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      Motion denied 3/11/19.
      s/John R. Adams
      U.S. District Judge    UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 SKYLA D. JOHNSON,

 Plaintiff,                                                 Case No. 5:18-cv-02778- JRA

 v.                                                         Honorable Judge John R. Adams

 CHOICE RECOVERY, INC.,
 Defendant.



      UNOPPOSED MOTION TO ALLOW PLAINTIFF TO APPEAR TELEPHONICALLY
                    AT CASE MANAGEMENT CONFERENCE

           NOW comes SKYLA D. JOHNSON (“Plaintiff”), by and through her attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”), bringing this Motion to Allow Plaintiff to Appear Telephonically at the Case

Management Conference and in support states as follows:

      1. On March 5, 2019, this Honorable Court entered a Case Management Scheduling Order (Dkt.

           10), ordering that the Case Management Conference (“CMC”) is scheduled to take place on

           April 9, 2019 at 2:00 p.m. in front of Honorable Judge John R. Adams, in Akron, Ohio. This

           court further states that all parties with full settlement authority must be present at this hearing

           with their attorney.

      2. Plaintiff has recently started a job working as a social worker with Aetna Health Insurance

           Company.

      3.   Thus far, Plaintiff has not accumulated any paid time off.

      4. Plaintiff is a single mother and the sole income earner for her household. As such, she cannot

           financially afford any time off of work without pay.
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   5. Plaintiff understands and respects this Honorable Court’s order which requires her to be present

      at the Case Management. Given her circumstances, Plaintiff requests that this Court allow her

      to telephonically at the Case Management Hearing on April 9, 2019.

   6. Plaintiff will be represented at the CMC by counsel with full settlement authority.

   7. Plaintiff is extremely mindful of the Court’s resources and would take a telephonic appearance

      as seriously as if she was present in Court. Plaintiff will be fully devoted to the CMC and will

      not be preoccupied by other matters.

   8. Allowing Plaintiff to appear telephonically will be greatly beneficial to Plaintiff’s financial

      situation.

   WHEREFORE, Plaintiff, SYLA D. JOHNSON, respectfully respects that this Honorable Court

   allow her to appear telephonically at the Case Management Conference scheduled for April 9, 2019

   and for any other relief appropriate.

Dated: March 8, 2019                               Respectfully Submitted,

                                                   /s/ Nathan C. Volheim
                                                   Nathan C. Volheim
                                                   Counsel for Plaintiff
                                                   Sulaiman Law Group, Ltd.
                                                   2500 S. Highland Avenue, Suite 200
                                                   Lombard, IL 60148
                                                   Phone (630) 575-8181 x113
                                                   Fax: (630)575-8188
                                                   nvolheim@sulaimanlaw.com
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                                    CERTIFICATE OF SERVICE


        I, the undersigned, hereby certify that on March 8, 2019, a true and correct copy of the above and

foregoing document was filed with the Court via CM/ECF and served on all parties requested electronic

notification.



                                                                       /s/ Nathan C. Volheim
                                                                       Nathan C. Volheim
